Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 1 of 70




               Exhibit A
         Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 2 of 70




Exhibit A-1

Plaintiff BARBARA ELIAAS

        1.      In or about, September 2012, Plaintiff BARBARA ELIAAS was hired by

Defendants to work as a server for Defendants “Café Boulud.” Plaintiff’s employment was

terminated in June 2019.

        2.      Throughout her employment, Plaintiff BARBARA ELIAAS was scheduled to work

five days per week. On Tuesdays, Wednesdays, Thursdays and Fridays she was scheduled to work

from 6:30 a.m. until 4:30 p.m., and on Saturday from 7:30 a.m. until 4:30 p.m. As a result, Plaintiff

was scheduled to work a total of forty-nine (49) hours per week.

        3.      From the start of her employment through December 31, 2012, Plaintiff

BARBARA ELIAAS was paid $5.00 per hour. From January 1, 2013 until June 2016, Plaintiff

was paid $12.00 per hour. From June 2016 through December 31, 2018, Plaintiff was paid $14.00

per hour. Starting January 1, 2019 until the end of her employment, Plaintiff was paid $15.00 per

hour.

        4.      Plaintiff BARBARA ELIAAS is owed unpaid wages due to Defendants claiming

an invalid tip credit.

        5.      Plaintiff BARBARA ELIAAS is owed her illegally retained gratuities due to an

improper tipping pool.

        6.      Plaintiff BARBARA ELIAAS is owed her unpaid spread of hours premium

        7.      From the start of her employment through December 31, 2012, Defendants paid

Plaintiff BARBARA ELIAAS at hourly rates below the standard minimum wage and overtime.

Defendants were not entitled to claim any tip credit allowance under the FLSA because Defendants

(i) failed to properly provide tip credit notice in violation of the FLSA; (ii) failed to inform Plaintiff
          Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 3 of 70




that the tip credit claimed by Defendants cannot exceed the amount of tips actually received by

them in violation of the FLSA; (iii) failed to inform Plaintiff that all tips received by them are to

be retained by them except pursuant to a valid tip pooling arrangement in violation of the FLSA,

(iv) failed to inform Plaintiff that tip credit will not apply unless they have been informed of the

foregoing tip credit notice requirement in violation of the FLSA, (v) claimed tip credit for all hours

worked despite having caused Plaintiff to engage in non-tipped duties for hours exceeding 20% of

the total hours worked each workweek in violation of the FLSA, and (vi) failed to accurately track

daily tips earned or maintain records thereof.

       8.      In addition to performing tipped duties, Plaintiff BARBARA ELIAAS was required

to engage more than 20% of her working time performing substantial non-tipped activities

including setting up the dining area, setting up the food stations in the kitchen, bringing up drinks

from the basement, cleaning placemats, setting up the outside dining area, cleaning the bathrooms,

mopping floors, polishing silverware, and cleaning windows.

       9.      At all relevant times, Defendants illegally retained Plaintiff BARBARA ELIAAS’

gratuities because she was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.

    10.        From the start of her employment until December 31, 2015, Defendants unlawfully

failed to pay Plaintiff BARBARA ELIAAS her spread of hours premium when she worked shifts

exceeding ten (10) hours in duration, as required by the NYLL.
         Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 4 of 70




Exhibit A-2

Plaintiff SHAHAB CHOWDHURY

        1.     In or about 1999, Plaintiff SHAHAB CHOWDHURY, was hired by Defendants to

work as a server for Defendants “Café Boulud.” Plaintiff’s employment was terminated in or

around June 2019. Although Plaintiff SHAHAB CHOWDHURY worked primarily at “Café

Boulud”, he was also required to work at “DB BISTRO MODERNE”, “DBGB Kitchen and Bar”,

and “DANIEL” as needed.

        2.     From the start of his employment until around 2016, Plaintiff SHAHAB

CHOWDHURY was scheduled to work five (5) days per week from 11:00 a.m. to 11:00 p.m.

Thus, during this period Plaintiff Chowdhury was scheduled to work a total of sixty (60) hours per

week.

        3.     Starting in or around 2016 until his termination in or about June 2019, Plaintiff

SHAHAB CHOWDHURY was scheduled to work six (6) days per week from 6:00 a.m. until 3:00

p.m. During this period, Plaintiff Chowdhury was scheduled to work a total of fifty-four (54)

hours per week.

        4.     Throughout his employment, Plaintiff SHAHAB CHOWDHURY was paid at the

tip credit minimum wage. From 2013 until around December 31, 2016, Plaintiff was paid $5.00

per hour. Starting January 1, 2017 until December 31, 2017 Plaintiff was paid $7.50 per hour.

Starting from January 1, 2018 until December 31, 2018 Plaintiff was paid $9.00 per hour. Finally

starting from January 1, 2019 until his termination in June 2019, Plaintiff was paid $11.00 per

hour.

        5.     Plaintiff SHAHAB CHOWDHURY is owed unpaid wages due to Defendants

claiming an invalid tip credit.
         Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 5 of 70




       6.      Plaintiff SHAHAB CHOWDHURY is owed his illegally retained gratuities due to

an improper tipping pool.

       7.      Plaintiff SHAHAB CHOWDHURY is owed his unpaid spread of hours premium.

       8.      At all relevant times, Defendants paid Plaintiff SHAHAB CHOWDHURY at

hourly rates below the standard minimum wage and overtime. Defendants were not entitled to

claim any tip credit allowance under the FLSA because Defendants (i) failed to properly provide

tip credit notice in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed

by Defendants cannot exceed the amount of tips actually received by them in violation of the

FLSA; (iii) failed to inform Plaintiff that all tips received by them are to be retained by them except

pursuant to a valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff

that tip credit will not apply unless they have been informed of the foregoing tip credit notice

requirement in violation of the FLSA, (v) claimed tip credit for all hours worked despite having

caused Plaintiff to engage in non-tipped duties for hours exceeding 20% of the total hours worked

each workweek in violation of the FLSA, and (vi) failed to accurately track daily tips earned or

maintain records thereof.

       9.      In addition to performing tipped duties, Plaintiff SHAHAB CHOWDHURY was

required to engage more than 20% of his working time performing substantial non-tipped activities

including cleaning bathrooms, making juices, cleaning walls, polishing glass and silverware,

cutting bread, sweeping and mopping, accepting and unloading deliveries and retrieving dirty trays

from room service in the hotel.

       10.     At all relevant times, Defendants illegally retained Plaintiff SHAHAB

CHOWDHURY’s gratuities because he was subject to a tip pooling scheme whereby various non-

tipped and managerial employees, participated in the tip pool and took a percentage of the pooled
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 6 of 70




tips. These individuals are not compensated at the tipped minimum wage rate, and do not serve

customers.

       11.    At all relevant times, Defendants unlawfully failed to pay Plaintiff SHAHAB

CHOWDHURY his spread of hours premium when he worked shifts exceeding ten (10) hours in

duration, as required by the NYLL.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 7 of 70




Exhibit A-3

Plaintiff MANG WING WONG

       1.      In or around October 1999, Plaintiff MANG WING WONG, was hired by

Defendants to work as a food runner for Defendants “Café Boulud.” Starting in or about June

2014, Plaintiff was required to act as a delivery person, in addition to his work as a food runner.

Plaintiff’s employment was terminated on or about July 28, 2017. Although Plaintiff worked

primarily at “Café Boulud”, he was also required to transfer ingredients and food between locations

as needed.

       2.      From 2011 to 2014, Plaintiff MANG WING WONG was scheduled to work five

(5) days per week, Monday to Wednesday and Saturday to Sunday, from 11:00 a.m. to 11:00 p.m.,

for a total of sixty (60) hours per week.

       3.      Starting in June 2014, to the end of his employment, Plaintiff MANG WING

WONG was scheduled to work from 6:00 a.m. to 3:00 p.m., for four (4) to six (6) days per week,

for approximately a total of thirty six (36) hours to fifty four (54) hours per week.

       4.      From in or around 2011 until December 31, 2013, Plaintiff MANG WING WONG

was paid $5.00 per hour and an overtime rate of $8.63. Starting January 1, 2014, Plaintiff was paid

$5.00 per hour and an overtime rate of $9.00. Starting January 1, 2015 until December 31, 2015,

Plaintiff was paid $5.00 per hour and an overtime rate of $9.38, and Defendants started claiming

a $3.75 tip credit against Plaintiff’s wage. Starting January 1, 2016 to December 31, 2016, Plaintiff

was paid $7.50 per hour and an overtime rate of $12.00, and Defendants claimed a tip credit of

$1.50. Starting January 1, 2017, until his termination, Plaintiff was paid $11.00 per hour.
         Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 8 of 70




        5.      Throughout Plaintiff MANG WING WONG’s employment with Defendants, he

was required to clock out thirty (30) minutes each workday for a meal break, however, Plaintiff

was unable take an uninterrupted break.

        6.      Plaintiff MANG WING WONG is owed unpaid wages due to Defendants claiming

an invalid tip credit.

        7.      Plaintiff MANG WING WONG is owed his illegally retained gratuities due to an

improper tipping pool.

        8.      Plaintiff MANG WING WONG is owed compensation for the improperly deducted

meal credits.

        9.      Plaintiff MANG WING WONG is owed unpaid spread of hours premiums.

        10.     Plaintiff MANG WING WONG is owed his unpaid wages due to Defendants policy

of time-shaving.

        11.     At all relevant times, Defendants paid Plaintiff MANG WING WONG at hourly

rates below the standard minimum wage and overtime. Defendants were not entitled to claim any

tip credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit

notice in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by

Defendants cannot exceed the amount of tips actually received by them in violation of the FLSA;

(iii) failed to inform Plaintiff that all tips received by them are to be retained by them except

pursuant to a valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff

that tip credit will not apply unless they have been informed of the foregoing tip credit notice

requirement in violation of the FLSA, (v) claimed tip credit for all hours worked despite having

caused Plaintiff to engage in non-tipped duties for hours exceeding 20% of the total hours worked
          Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 9 of 70




each workweek in violation of the FLSA, and (vi) failed to accurately track daily tips earned or

maintain records thereof.

       12.     In addition to performing tipped duties, Plaintiff MANG WING WONG was

required to engage more than 20% of his working time performing substantial non-tipped activities

including such as cleaning the wine cooler and wine container, washing glasses and silverware,

cleaning, collecting and removing garbage, and delivering goods to Defendants’ other restaurant

locations

       13.     At all relevant times, Defendants illegally retained Plaintiff MANG WING

WONG’s gratuities because he was subject to a tip pooling scheme whereby various non-tipped

and managerial employees, participated in the tip pool and took a percentage of the pooled tips.

These individuals are not compensated at the tipped minimum wage rate, and do not serve

customers.

       14.     At all relevant times, Defendants deducted $3.00 per day as a meal credit from

Plaintiff MANG WING WONG’s wages. However, on most days Plaintiff was not provided with

any meal, nor any time to eat a meal. Any meals that were provided were made up of one or at

most two of the four required food groups.

    15.        At all relevant times, Defendants unlawfully failed to pay Plaintiff MANG WING

WONG his spread of hours premium when he worked shifts exceeding ten (10) hours in duration,

as required by the NYLL.

       16.     At all relevant times, due to Defendants improper time-shaving policies, Plaintiff

MANG WING WONG was not paid for all hours worked, nor received all his overtime, equal to

1.5x their regular rate for hours worked over forty (40) per week.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 10 of 70




Exhibit A-4
Plaintiff JORGE VELAZQUEZ

        1.      In or around January 2003, Plaintiff JORGE VELAZQUEZ was hired by

Defendants to work as a server for Defendants’ “DB Bistro Moderne”. Starting in June 2013 to his

termination in September 2017, Plaintiff worked as a captain at Defendants’ “Café Boulud.”

        2.      Throughout his employment, Plaintiff JORGE VELAZQUEZ was scheduled to

work five (5) days per week, from 4:00 p.m. to 11:00 p.m. Furthermore, at least twice per week,

Plaintiff was scheduled to work from 10:30 a.m. to 3:30 p.m. in addition to his 4:00 p.m. to 11:00

p.m. shift. As a result, Plaintiff worked at least forty-five (45) hours per week.

        3.      From the start of Plaintiff JORGE VELAZQUEZ’s employment until 2013,

Plaintiff was paid $5.00 per hour and an overtime rate of $8.63. Starting January 1, 2014 to

December 31, 2014, Plaintiff was paid $5.00 per hour and an overtime rate of $9.00. From January

1, 2015 to December 31, 2015, Plaintiff was paid $5.00 per hour and an overtime rate of $9.38.

From January 1, 2016 to December 31, 2016, Plaintiff was paid $7.50 per hour and an overtime

rate of $12.00. From January 1, 2017 to the end of his employment, Plaintiff was paid $11.00 per

hour.

        4.      Throughout Plaintiff JORGE VELAZQUEZ’s employment with Defendants, he

was required to clock out thirty (30) minutes each work day for a meal break, however, Plaintiff

was constantly interrupted and unable to take an uninterrupted break.

        5.      Plaintiff JORGE VELAZQUEZ is owed unpaid wages due to Defendants claiming

an invalid tip credit.

        6.      Plaintiff JORGE VELAZQUEZ is owed his illegally retained gratuities due to an

improper tipping pool.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 11 of 70




        7.      Plaintiff JORGE VELAZQUEZ is owed compensation for the improperly deducted

meal credits.

        8.      Plaintiff JORGE VELAZQUEZ is owed unpaid wages due to Defendants policy of

time-shaving.

        9.      Plaintiff JORGE VELAZQUEZ is owed his unpaid spread of hours compensation.

        10.     At all relevant times, Defendants paid Plaintiff JORGE VELAZQUEZ at hourly

rates below the standard minimum wage and overtime. Defendants were not entitled to claim any

tip credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit

notice in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by

Defendants cannot exceed the amount of tips actually received by them in violation of the FLSA;

(iii) failed to inform Plaintiff that all tips received by them are to be retained by them except

pursuant to a valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff

that tip credit will not apply unless they have been informed of the foregoing tip credit notice

requirement in violation of the FLSA, (v) claimed tip credit for all hours worked despite having

caused Plaintiff to engage in non-tipped duties for hours exceeding 20% of the total hours worked

each workweek in violation of the FLSA, and (vi) failed to accurately track daily tips earned or

maintain records thereof.

        11.     In addition to performing tipped duties, Plaintiff JORGE VELAZQUEZ was

required to engage more than 20% of his working time performing substantial non-tipped activities

including such as cleaning the wine cooler and wine container, washing glasses and silverware,

cleaning, collecting and removing garbage, and delivering goods to Respondents’ other restaurant

locations..
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 12 of 70




       12.     At all relevant times, Defendants illegally retained          Plaintiff JORGE

VELAZQUEZ’s gratuities because he was subject to a tip pooling scheme whereby various

managerial employees participated in the tip pool and took a percentage of the pooled tips. As

managers, they are not compensated at the tipped minimum wage rate, and do not serve customers.

       13.     At all relevant times, Defendants deducted $3.00 per day as a meal credit from

Plaintiff JORGE VELAZQUEZ’s wages. However, on most days Plaintiff was not provided with

any meal, nor any time to eat a meal. Furthermore, any meals that were provided were made up of

one or at most two of the four required food groups.

       14.     At all relevant times, Defendants unlawfully failed to pay Plaintiff JORGE

VELAZQUEZ his spread of hours premium when he worked shifts exceeding ten (10) hours in

duration, as required by the NYLL.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 13 of 70




Exhibit A-5

Plaintiff SHAHAB CHOWDHURY

       1.      In or around January 2009, Plaintiff SULTAN AHMED was hired by Defendants

to work as a server for Defendants’ “Café Boulud”. Plaintiff’s employment was terminated in or

around February 2, 2018.

       2.      Throughout his employment, Plaintiff SULTAN AHMED was scheduled to work

five (5) days per week, from 5:30 p.m. to 11:00 p.m. Furthermore, at least three times per week,

Plaintiff was scheduled to work from 10:00 a.m. to 4:00 p.m. in addition to his 4:00 p.m. to 11:00

p.m. shift. As a result, Plaintiff worked at least forty-five and a half (45.5) hours per week.

       3.      From the start of Plaintiff SULTAN AHMED’s employment until 2013, Plaintiff

was paid $5.00 per hour and an overtime rate of $8.63. Starting January 1, 2014 to December 31,

2014, Plaintiff was paid $5.00 per hour and an overtime rate of $9.00. From January 1, 2015 to

December 31, 2015, Plaintiff was paid $5.00 per hour and an overtime rate of $9.38. From January

1, 2016 to December 31, 2016, Plaintiff was paid $7.50 per hour and an overtime rate of $12.00.

From January 1, 2017 to the end of his employment, Plaintiff was paid $8.65 per hour.

       4.      Throughout Plaintiff SULTAN AHMED’s employment with Defendants, he was

required to clock out thirty (30) minutes each work day for a meal break, however, Plaintiff was

constantly interrupted and unable to take an uninterrupted break.

       5.      On most weeks the general manager for Café Boulud would adjust Plaintiff

SULTAN AHMED’s hours down to forty (40) hours or less despite Plaintiff working well over

forty hours per week. Occasionally, Defendants would pay Plaintiff for 41 to 42 hours, however,

Defendants never paid Plaintiff for all hours worked.
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 14 of 70




        6.      Plaintiff SULTAN AHMED is owed unpaid wages due to Defendants claiming an

invalid tip credit.

        7.      Plaintiff SULTAN AHMED is owed his illegally retained gratuities due to an

improper tipping pool.

        8.      Plaintiff SULTAN AHMED is owed compensation for the improperly deducted

meal credits.

        9.      Plaintiff SULTAN AHMED is owed unpaid wages, including overtime, due to

Defendants’ policy of time-shaving.

        10.     At all relevant times, Defendants paid Plaintiff SULTAN AHMED at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

        11.     In addition to performing tipped duties, Plaintiff SULTAN AHMED was required

to engage more than 20% of his working time performing substantial non-tipped activities
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 15 of 70




including cleaning the wine cooler and wine container, washing glasses and silverware, cleaning,

collecting and removing garbage, and delivering goods to Defendants’ other restaurant locations.

       12.     At all relevant times, Defendants illegally retained Plaintiff SULTAN AHMED’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.

       13.     At all relevant times, Defendants deducted $3.00 per day as a meal credit from

Plaintiff SULTAN AHMED’s wages. However, on most days Plaintiff was not provided with any

meal, nor any time to eat a meal. Any meals that were provided were made up of one or at most

two of the four required food groups.

       14.     At all relevant times, due to Defendants improper time-shaving policies, Plaintiff

SULTAN AHMED was not paid for all hours worked, nor received all his overtime, equal to 1.5x

their regular rate for hours worked over forty (40) per week.
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 16 of 70




Exhibit A-6
Plaintiff KAITY CHAN-ROMAN

       1.       In or about 1999, Plaintiff KAITY CHAN-ROMAN, was hired by Defendants to

work as a food runner for Defendants “DB BISTRO MODERNE.” Starting in January 2014

Plaintiff was employed as a pastry chef at Defendants “DB BISTRO MODERNE.” Plaintiff’s

employment was terminated in or around June 2014.

       2.       Starting January 1, 2014 to in or about June 2014, Plaintiff KAITY CHAN-

ROMAN was paid at an hourly rate of $14.00.

       3.       From 2014 until the end of her employment in or about June 2014, Plaintiff KAITY

CHAN-ROMAN was scheduled to work five or six days per week. Plaintiff was scheduled to work

twelve (12) hours per day from either 2:00 p.m. to 2:00 a.m. or 9:00 a.m. to 9:00 p.m. for a total

of between sixty (60) and seventy-two (72) hours per week.

       4.       Throughout Plaintiff KAITY CHAN-ROMAN’s employment with Defendants, he

was required to clock out thirty (30) minutes each workday for a meal break, however, Plaintiff

was unable take an uninterrupted break.

       5.       Plaintiff KAITY CHAN-ROMAN is owed her illegally retained gratuities due to

an improper tipping pool.

       6.       Plaintiff KAITY CHAN-ROMAN is owed compensation for the improperly

deducted meal credits.

       7.       Plaintiff KAITY CHAN-ROMAN is owed her unpaid spread of hours

compensation.

       8.       Plaintiff KAITY CHAN-ROMAN is owed her unpaid wages, including overtime,

due to Defendants policy of time-shaving.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 17 of 70




       9.      At all relevant times, Defendants deducted $3.00 per day as a meal credit from

Plaintiff KAITY CHAN-ROMAN’s wages. However, on most days Plaintiff was not provided

with any meal, nor any time to eat a meal. Any meals that were provided were made up of one or

at most two of the four required food groups.

       10.     At all relevant times, Defendants unlawfully failed to pay Plaintiff KAITY CHAN-

ROMAN her spread of hours premium when he worked shifts exceeding ten (10) hours in duration,

as required by the NYLL.

       11.     At all relevant times, due to Defendants improper time-shaving policies, Plaintiff

KAITY CHAN-ROMAN was not paid for all hours worked, nor received all her overtime, equal

to 1.5x their regular rate for hours worked over forty (40) per week.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 18 of 70




Exhibit A-7
Plaintiff PRIMITIVO FLORES

        1.      In or about June 2010, Plaintiff PRIMITIVO FLORES was hired by Defendants to

work as a busser at Defendants “DBGB Kitchen and Bar.” In or around September 2017, Plaintiff

was transferred to “Bar Boulud” where he is currently employed as a busser.

        2.      From the beginning of his employment to December 31, 2016, Plaintiff

PRIMITIVO FLORES was paid $5.00 per hour. From January 1, 2017 until December 31, 2017,

Plaintiff was paid $7.50 per hour. From January 1, 2018 to December 31, 2018, Plaintiff was paid

$8.65 per hour. From January 1, 2019 to the present, Plaintiff was paid $10.00 per hour.

        3.      From the start of his employment until around December 31, 2017, Plaintiff

PRIMITIVO FLORES was scheduled to work Tuesday through Saturday from 4:00 p.m. to 2:00

a.m. In addition, one day per week Plaintiff was required to work the lunch shift from 11:00 a.m.

until 4:00 p.m. Therefore, during this period he was scheduled to work approximately fifty-five

(55) hours per week.

        4.      From January 2018 through the present Plaintiff PRIMITIVO FLORES was

scheduled to work five days per week, on Wednesday, Thursday, and Friday from 4:00 p.m. to

2:00 a.m., on Saturday from 10:15 a.m. to 5:30 p.m. and Sunday from 10:45 a.m. until 5:30 p.m.

During this period Plaintiff was scheduled to work forty-four (44) hours per week.

        5.      Plaintiff PRIMITIVO FLORES is owed unpaid wages due to Defendants claiming

an invalid tip credit.

        6.      Plaintiff PRIMITIVO FLORES is owed his illegally retained gratuities due to an

improper tipping pool.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 19 of 70




       7.       Plaintiff PRIMITIVO FLORES is owed compensation for the improperly deducted

meal credits.

       8.       At all relevant times, Defendants paid Plaintiff PRIMITIVO FLORES at hourly

rates below the standard minimum wage and overtime. Defendants were not entitled to claim any

tip credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit

notice in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by

Defendants cannot exceed the amount of tips actually received by them in violation of the FLSA;

(iii) failed to inform Plaintiff that all tips received by them are to be retained by them except

pursuant to a valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff

that tip credit will not apply unless they have been informed of the foregoing tip credit notice

requirement in violation of the FLSA, (v) claimed tip credit for all hours worked despite having

caused Plaintiff to engage in non-tipped duties for hours exceeding 20% of the total hours worked

each workweek in violation of the FLSA, and (vi) failed to accurately track daily tips earned or

maintain records thereof.

       9.       In addition to performing tipped duties, Plaintiff PRIMITIVO FLORES was

required to engage more than 20% of his working time performing substantial non-tipped activities

including such as cleaning the bathroom, sweeping and vacuuming the dining area, polishing glass

and silverware, and cleaning the private events room. Furthermore, Plaintiff would spend two

entire days making coffee, cappuccinos, espressos and tea per week.

       10.      At all relevant times, Defendants illegally retained Plaintiff PRIMITIVO FLORES’

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 20 of 70




       11.     At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff PRIMITIVO FLORES’ wages. However, any meals that were provided were made up of

one or at most two of the four required food groups. On many days Defendants would only provide

salad. Defendants would very rarely provide any protein. Generally, Defendants would only

provide rice or stale bread with expired vegetables.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 21 of 70




Exhibit A-8
Plaintiff CARLOS SOTO

        1.      In or about May 2012, Plaintiff CARLOS SOTO was hired by Defendants as a

dishwasher/busser/polisher for Defendants “Bar Boulud.” Plaintiff is currently employed by

Defendants.

        2.      From the beginning of his employment to December 31, 2016, Plaintiff CARLOS

SOTO was paid $5.00 per hour. From January 1, 2017 until December 31, 2017, Plaintiff was paid

$7.50 per hour. From January 1, 2018 to December 31, 2018, Plaintiff was paid $8.65 per hour.

From January 1, 2019 to the present, Plaintiff was paid $10.00 per hour.

        3.      From the start of Plaintiff’s employment through December 31, 2013, Plaintiff

worked as a dishwasher five (5) days per week from 4:00 p.m. to 2:00 a.m. Therefore, during this

period, Plaintiff was scheduled to work at least fifty (50) hours per week.

        4.      From January 1, 2014 to December 31, 2014, Plaintiff worked as a polisher five (5)

days per week from 4:00 p.m. to 12:00 a.m. Therefore, during this period, Plaintiff was scheduled

to work at least forty (40) hours per week.

        5.      Starting January 1, 2015 Plaintiff worked as a busboy five (5) days per week.

During this period, Plaintiff worked from 11:30 a.m. to 11:30 p.m. two (2) days per week, while

three (3) days per week he either worked from 3:30 p.m. to 11:30 p.m. or from 4:00 p.m. to 1:00

a.m. Therefore, Plaintiff worked at least forty-eight (48) hours per week during this period.

        6.      Plaintiff CARLOS SOTO is owed unpaid wages due to Defendants claiming an

invalid tip credit.

        7.      Plaintiff CARLOS SOTO is owed his illegally retained gratuities due to an

improper tipping pool.
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 22 of 70




           8.    Plaintiff CARLOS SOTO is owed compensation for the improperly deducted meal

credits.

           9.    At all relevant times, Defendants paid Plaintiff CARLOS SOTO at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

           10.   In addition to performing tipped duties, Plaintiff CARLOS SOTO was required to

engage more than 20% of his working time performing substantial non-tipped activities including

cleaning bathrooms, sweeping and vacuuming the dining area, polishing glass and silverware, and

cleaning the private events room.

           11.   At all relevant times, Defendants illegally retained Plaintiff CARLOS SOTO’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 23 of 70




       12.     At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff CARLOS SOTO’s wages. However, any meals that were provided were made up of one

or at most two of the four required food groups. On many days Defendants would only provide

salad. Defendants would very rarely provide any protein. Generally, Defendants would only

provide rice or stale bread with expired vegetables.
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 24 of 70




Exhibit A-9

Plaintiff DAVID RIVAS

           1.   In or about July 2009, Plaintiff DAVID RIVAS was hired by Defendants to work

as a busser at Defendants “DBGB Kitchen and Bar.” Plaintiff’s employment was terminated in

June 2015.

           2.   Throughout Plaintiff DAVID RIVAS’s employment, Plaintiff was paid $5.00 per

hour.

           3.   From the start of his employment until around December 31, 2012, Plaintiff

DAVID RIVAS was scheduled to work five (5) days per week, from 4:00 p.m. to 1:00 a.m. In

addition, twice per week Plaintiff was required to work the lunch shift from 10:30 a.m. until 3:00

p.m. Therefore, during this period Plaintiff was scheduled to work approximately fifty-four (54)

hours per week.

           4.   From January 2013 to June 2015, Plaintiff DAVID RIVAS was scheduled to work

five days per week, from 4:00 p.m. to 1:00 a.m. During this period Plaintiff was scheduled to work

forty-five (45) hours per week.

           5.   Plaintiff DAVID RIVAS is owed unpaid wages due to Defendants claiming an

invalid tip credit.

           6.   Plaintiff DAVID RIVAS is owed his illegally retained gratuities due to an improper

tipping pool.

           7.   Plaintiff DAVID RIVAS is owed compensation for the improperly deducted meal

credits.

           8.   At all relevant times, Defendants paid Plaintiff DAVID RIVAS at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 25 of 70




credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

        9.      In addition to performing tipped duties, Plaintiff DAVID RIVAS was required to

engage more than 20% of his working time performing substantial non-tipped activities including

cleaning bathrooms, making juices, cleaning walls, polishing glass and silverware, cutting bread,

sweeping and mopping, accepting and unloading deliveries and retrieving dirty trays from room

service in the hotel.

        10.     At all relevant times, Defendants illegally retained Plaintiff DAVID RIVAS’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.

        11.     At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff DAVID RIVAS’ wages. However, any meals that were provided were made up of one or

at most two of the four required food groups. On many days Defendants would only provide salad.
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 26 of 70




Defendants would very rarely provide any protein. Generally, Defendants would only provide rice

or stale bread with expired vegetables.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 27 of 70




Exhibit A-10
Plaintiff EDGAR MONTES

       1.      In or about January 2011, Plaintiff EDGAR MONTES was hired by Defendants to

work as a food runner at Defendants “DBGB Kitchen and Bar.” Around April 2016, Plaintiff was

transferred to Defendants’ “Bar Boulud” where he is currently employed.

       2.      From the beginning of his employment to December 31, 2016, Plaintiff EDGAR

MONTES was paid $5.00 per hour. From January 1, 2017 until December 31, 2017, Plaintiff was

paid $7.50 per hour. From January 1, 2018 to December 31, 2018, Plaintiff was paid $8.65 per

hour. From January 1, 2019 to the present, Plaintiff was paid $10.00 per hour.

       3.      From the start of his employment until around December 31, 2012, Plaintiff

EDGAR MONTES was scheduled to work five (5) days per week. Plaintiff worked four (4) days

per week from 10:30 a.m. to 11:00 p.m. and Plaintiff worked one (1) day per week from 3:30 p.m.

to 11:30 p.m. Therefore, during this period Plaintiff was scheduled to work approximately fifty-

eight (58) hours per week.

       4.      From January 1, 2013 to March 31, 2016, Plaintiff EDGAR MONTES worked four

(4) days per week working variable shifts, from 10:30 a.m. to 3:30 p.m., 3:00 p.m. to 11:00 p.m.,

4:30 p.m. to 11:30 p.m., or 5:00 p.m. to 12:30 a.m. In addition, one day per week he worked a

double shift from 10:30 am to 11:00 am. Therefore, Claimant worked at least thirty-five (35) hours

per week during this period.

       5.      Since April 1, 2016, Plaintiff EDGAR MONTES worked from 11:00 a.m. to 12:00

a.m., four (4) days per week and from 3:30 p.m. to 11:30 p.m. once per week, for a total of five

(5) days per week. Plaintiff therefore worked at least sixty (60) hours per week during this period.
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 28 of 70




        6.      Plaintiff EDGAR MONTES is owed unpaid wages due to Defendants claiming an

invalid tip credit.

        7.      Plaintiff EDGAR MONTES is owed his illegally retained gratuities due to an

improper tipping pool.

        8.      Plaintiff EDGAR MONTES is owed compensation for the improperly deducted

meal credits.

        9.      At all relevant times, Defendants paid Plaintiff EDGAR MONTES at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

        10.     In addition to performing tipped duties, Plaintiff EDGAR MONTES was required

to engage more than 20% of his working time performing substantial non-tipped activities

including cleaning bathrooms, making juices, cleaning walls, polishing glass and silverware,

cutting bread, sweeping and mopping, accepting and unloading deliveries and retrieving dirty trays

from room service in the hotel.
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 29 of 70




       11.     At all relevant times, Defendants illegally retained Plaintiff EDGAR MONTES

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.

       12.     At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff EDGAR MONTES’ wages. However, any meals that were provided were made up of one

or at most two of the four required food groups. On many days Defendants would only provide

salad. Defendants would very rarely provide any protein. Generally, Defendants would only

provide rice or stale bread with expired vegetables.
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 30 of 70




Exhibit A-11

Plaintiff EFREN PEREZ

       1.      In or about October 2016, Plaintiff EFREN PEREZ was hired by Defendants to

work as a food runner at Defendants “Café Boulud.”

       2.      From the beginning of his employment to December 31, 2016, Plaintiff EFREN

PEREZ was paid $5.00 per hour. From January 1, 2017 until December 31, 2017, Plaintiff was

paid $7.50 per hour. From January 1, 2018 to December 31, 2018, Plaintiff was paid $8.65 per

hour. From January 1, 2019 to the present, Plaintiff was paid $10.00 per hour.

       3.      From the start of his employment until around May 30, 2017 Plaintiff EFREN

PEREZ worked two (2) days per week from 7:00 a.m. to 3:00 p.m. for approximately sixteen (16)

hours per week.

       4.      From around June 1, 2017 until around September 2018 Plaintiff EFREN PEREZ

was scheduled to work from 10:30 a.m. until 11:00 p.m. two (2) to three (3) days per week.

Therefore, during this period Plaintiff was scheduled to work between twenty-five (25) to thirty-

seven and a half (37.5) hours per week.

       5.      From around September 2018 until the termination of his employment Plaintiff

EFREN PEREZ worked two days per week, on Fridays from 6:00 a.m. to 3:00 p.m. and on

Saturdays from 6:00 p.m. to 12:00 a.m. During this period Plaintiff was scheduled to work fifteen

(15) hours per week.

       6.      Throughout his employment, Plaintiff EFREN PEREZ had a one (1) hour automatic

meal break deduction, but Plaintiff was interrupted and required to work through his break.

Furthermore, at least once a week, Plaintiff was required to remain and help with work for

approximately twenty (20) minutes.
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 31 of 70




        7.      Plaintiff EFREN PEREZ is owed unpaid wages due to Defendants claiming an

invalid tip credit.

        8.      Plaintiff EFREN PEREZ is owed his illegally retained gratuities due to an improper

tipping pool.

        9.      Plaintiff EFREN PEREZ is owed his unpaid wages due to Defendants policy of

time-shaving.

        10.     At all relevant times, Defendants paid Plaintiff EFREN PEREZ at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

        11.     In addition to performing tipped duties, Plaintiff EFREN PEREZ was required to

engage more than 20% of his working time performing substantial non-tipped activities including

setting up the dining room, cleaning the kitchen, folding baskets, polishing glass and silverware,

crushing ice, and washing dishes.
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 32 of 70




       12.     At all relevant times, Defendants illegally retained Plaintiff EFREN PEREZ’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.

       13.     At all relevant times, Defendants deducted $10.00 per week as a meal credit from

Plaintiff EFREN PEREZ’s wages, despite Plaintiff working through his meal break. Furthermore,

any meals that were provided were made up of one or at most two of the four required food groups.

On many days Defendants would only provide salad. Defendants would very rarely provide any

protein. Generally, Defendants would only provide rice or stale bread with expired vegetables.

       14.     At all relevant times, due to Defendants improper time-shaving policies, Plaintiff

EFREN PEREZ was not paid for all hours worked, nor received all his overtime, equal to 1.5x

their regular rate for hours worked over forty (40) per week.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 33 of 70




Exhibit A-12
Plaintiff GABRIEL PUCHA

        1.      In or about January 2001, Plaintiff GABRIEL PUCHA was hired by Defendants to

work as a food runner at Defendants “DB Bistro Moderne.” In or around January 2009, Plaintiff

was transferred to “DBGB KITCHEN AND BAR.” In or around September 2015, Plaintiff was

transferred to “CAFÉ BOULUD” where he worked until November 2017.

        2.      From the start of Plaintiff GABRIEL PUCHA’s employment through December

31, 2016, Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 through November

2017, Plaintiff was paid $7.50 per hour.

        3.      From January 1, 2013 through September 2015, Plaintiff GABRIEL PUCHA

worked around five (5) to six (6) days per week. During this period Plaintiff either worked the day

shift from 10:00 am to 3:00 pm or the night shift from 3:30 pm to 12:30 am. In addition, two (2)

days per week Plaintiff worked a double shift from 10:00 am to 12:30 am, therefore, Plaintiff

worked at least fifty-one (51) hours per week.

        4.      After September 2015, Plaintiff GABRIEL PUCHA worked a total of five (5) days

per week. During this period, he worked three (3) days per week from 11:00 am to 11:30 pm and

two (2) days per week from 5:00 pm to 12:30 pm. Claimant therefore worked at least fifty-two

(52) hours per week during this period.

        5.      Plaintiff GABRIEL PUCHA is owed unpaid wages due to Defendants claiming an

invalid tip credit.

        6.      Plaintiff GABRIEL PUCHA is owed his illegally retained gratuities due to an

improper tipping pool.
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 34 of 70




       7.       Plaintiff GABRIEL PUCHA is owed compensation for the improperly deducted

meal credits.

       8.       At all relevant times, Defendants paid Plaintiff GABRIEL PUCHA at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

       9.       In addition to performing tipped duties, Plaintiff GABRIEL PUCHA was required

to engage more than 20% of his working time performing substantial non-tipped activities

including cleaning the bathroom, sweeping and vacuuming the dining area, polishing glass and

silverware, and cleaning the private events room.

       10.      At all relevant times, Defendants illegally retained Plaintiff GABRIEL PUCHA’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 35 of 70




       11.     At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff GABRIEL PUCHA’s wages. However, any meals that were provided were made up of

one or at most two of the four required food groups. On many days Defendants would only provide

salad. Defendants would very rarely provide any protein. Generally, Defendants would only

provide rice or stale bread with expired vegetables.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 36 of 70




Exhibit A-13
Plaintiff GIOVANNI LUJAN

        1.      In or about 2010, Plaintiff GIOVANNI LUJAN was hired by Defendants to work

as a busser at Defendants “DBGB KITCHEN AND BAR.” In or around August 2017, Plaintiff

was transferred to “BOULUD SUD” where he is currently employed.

        2.      From the start of Plaintiff GIOVANNI LUJAN’s employment through December

31, 2016, Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 through December 31,

2017, Plaintiff was paid $7.50 per hour. Starting January 1, 2018 through December 31, 2018,

Plaintiff was paid $8.65 per hour. From January 1, 2019 to the present, Plaintiff was paid $10.00

per hour.

        3.      From June 2010 through December 31, 2018, Plaintiff GIOVANNI LUJAN

worked five (5) days per week. During this period, Plaintiff worked three (3) days per week from

3:30 pm to 11:00 pm, and two (2) days per week from 10:00 am to 11:00 pm. Thus, during this

period Plaintiff worked at least forty-one (41) hours per week.

        4.      After January 1, 2019, Plaintiff GIOVANNI LUJAN worked four (4) days per

week, on Wednesday he worked from 3:30 pm to 11:00 pm, on Friday from 11:15 am to 10:30

pm, on Saturday from 10:00 am to 10:30 pm, and on Sunday from 4:30 pm to 1:00 am. Plaintiff

therefore worked at least forty-nine (49) hours per week during this period.

        5.      Plaintiff GIOVANNI LUJAN is owed unpaid wages due to Defendants claiming

an invalid tip credit.

        6.      Plaintiff GIOVANNI LUJAN is owed his illegally retained gratuities due to an

improper tipping pool.
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 37 of 70




       7.       Plaintiff GIOVANNI LUJAN is owed compensation for the improperly deducted

meal credits.

       8.       At all relevant times, Defendants paid Plaintiff GIOVANNI LUJAN at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

       9.       In addition to performing tipped duties, Plaintiff GIOVANNI LUJAN was required

to engage more than 20% of his working time performing substantial non-tipped activities

including cleaning bathrooms, sweeping and vacuuming the dining area, polishing glass and

silverware, and cleaning the private events room.

       10.      At all relevant times, Defendants illegally retained Plaintiff GIOVANNI LUJAN’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 38 of 70




       11.     At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff GIOVANNI LUJAN’s wages. However, any meals that were provided were made up of

one or at most two of the four required food groups. On many days Defendants would only provide

salad. Defendants would very rarely provide any protein. Generally, Defendants would only

provide rice or stale bread with expired vegetables.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 39 of 70




Exhibit A-14
Plaintiff HECTOR SIGUENCIA

        1.      In or about October 2013, Plaintiff HECTOR SIGUENCIA was hired by

Defendants to work as a busser at Defendants “DBGB KITCHEN AND BAR.” Plaintiff’s

employment was terminated in August 2017.

        2.      From the start of Plaintiff HECTOR SIGUENCIA’s employment through

December 31, 2016, Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 through

August 2017, Plaintiff was paid $7.50 per hour.

        3.      From October 2013 through August 2017, Plaintiff HECTOR SIGUENCIA worked

five (5) days per week from 6:00 pm to 12:00 am. Plaintiff therefore worked at least thirty (30)

hours per week during this period.

        4.      Plaintiff HECTOR SIGUENCIA is owed unpaid wages due to Defendants claiming

an invalid tip credit.

        5.      Plaintiff HECTOR SIGUENCIA is owed his illegally retained gratuities due to an

improper tipping pool.

        6.      Plaintiff HECTOR SIGUENCIA is owed compensation for the improperly

deducted meal credits.

        7.      At all relevant times, Defendants paid Plaintiff HECTOR SIGUENCIA at hourly

rates below the standard minimum wage and overtime. Defendants were not entitled to claim any

tip credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit

notice in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by

Defendants cannot exceed the amount of tips actually received by them in violation of the FLSA;

(iii) failed to inform Plaintiff that all tips received by them are to be retained by them except
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 40 of 70




pursuant to a valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff

that tip credit will not apply unless they have been informed of the foregoing tip credit notice

requirement in violation of the FLSA, (v) claimed tip credit for all hours worked despite having

caused Plaintiff to engage in non-tipped duties for hours exceeding 20% of the total hours worked

each workweek in violation of the FLSA, and (vi) failed to accurately track daily tips earned or

maintain records thereof.

       8.      In addition to performing tipped duties, Plaintiff HECTOR SIGUENCIA was

required to engage more than 20% of his working time performing substantial non-tipped activities

including cleaning bathrooms, sweeping and vacuuming the dining area, polishing glass and

silverware, and cleaning the private events room.

       9.      At all relevant times, Defendants illegally retained Plaintiff HECTOR

SIGUENCIA’s gratuities because he was subject to a tip pooling scheme whereby various non-

tipped and managerial employees, participated in the tip pool and took a percentage of the pooled

tips. These individuals are not compensated at the tipped minimum wage rate, and do not serve

customers.

       10.     At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff HECTOR SIGUENCIA’s wages. However, any meals that were provided were made up

of one or at most two of the four required food groups. On many days Defendants would only

provide salad. Defendants would very rarely provide any protein. Generally, Defendants would

only provide rice or stale bread with expired vegetables.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 41 of 70




Exhibit A-15
Plaintiff JULIO RODRIGUEZ

        1.      In or about June 2009, Plaintiff JULIO RODRIGUEZ was hired by Defendants to

work as a food runner at Defendants “DBGB KITCHEN AND BAR.” Around August 2017,

Plaintiff was transferred to “BAR BOULUD.” Plaintiff’s employment was terminated in

November 2017.

        2.      From the start of Plaintiff JULIO RODRIGUEZ’s employment through December

31, 2016, Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 through November

2017, Plaintiff was paid $7.50 per hour.

        3.      From June 2009 through August 2017 Plaintiff JULIO RODRIGUEZ worked a

total of five (5) days per week. During this time, Plaintiff worked five (5) dinner-shifts from 5:00

pm to 12:00 am and one (1) lunch-shift from 10:00 am to 3:30 pm. therefore, Plaintiff worked at

least forty-two (42) hours per week.

        4.      Starting September 2017 to the end of his employment, Plaintiff JULIO

RODRIGUEZ worked two (2) days per week from 10:00 to 4:00 pm, thus, Claimant worked at

least twelve (12) hours during this period.

        5.      Plaintiff JULIO RODRIGUEZ is owed unpaid wages due to Defendants claiming

an invalid tip credit.

        6.      Plaintiff JULIO RODRIGUEZ is owed his illegally retained gratuities due to an

improper tipping pool.

        7.      Plaintiff JULIO RODRIGUEZ is owed compensation for the improperly deducted

meal credits.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 42 of 70




       8.      At all relevant times, Defendants paid Plaintiff JULIO RODRIGUEZ at hourly

rates below the standard minimum wage and overtime. Defendants were not entitled to claim any

tip credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit

notice in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by

Defendants cannot exceed the amount of tips actually received by them in violation of the FLSA;

(iii) failed to inform Plaintiff that all tips received by them are to be retained by them except

pursuant to a valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff

that tip credit will not apply unless they have been informed of the foregoing tip credit notice

requirement in violation of the FLSA, (v) claimed tip credit for all hours worked despite having

caused Plaintiff to engage in non-tipped duties for hours exceeding 20% of the total hours worked

each workweek in violation of the FLSA, and (vi) failed to accurately track daily tips earned or

maintain records thereof.

       9.      In addition to performing tipped duties, Plaintiff JULIO RODRIGUEZ was

required to engage more than 20% of his working time performing substantial non-tipped activities

including cleaning bathrooms, sweeping and vacuuming the dining area, polishing glass and

silverware, and cleaning the private events room.

       10.     At all relevant times, Defendants illegally retained Plaintiff JULIO RODRIGUEZ’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.

       11.     At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff JULIO RODRIGUEZ’s wages. However, any meals that were provided were made up of

one or at most two of the four required food groups. On many days Defendants would only provide
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 43 of 70




salad. Defendants would very rarely provide any protein. Generally, Defendants would only

provide rice or stale bread with expired vegetables.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 44 of 70




Exhibit A-16
Plaintiff LUIS PANURA

        1.      In or about January 2012, Plaintiff LUIS PANURA was hired by Defendants to

work as a food runner at Defendants “BAR BOULUD,” where Plaintiff is currently employed.

        2.      From the start of Plaintiff LUIS PANURA’s employment through December 31,

2016, Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 through November 2017,

Plaintiff was paid $7.50 per hour. Starting January 1, 2018 through December 31, 2018, Plaintiff

was paid $8.65 per hour. Starting from January 1, 2019 to the present, Plaintiff was paid $10.00

per hour.

        3.      From January 2012 through May 2018, Plaintiff LUIS PANURA worked six (6)

days per week on different shifts from 10:30 am to 3:30 pm or from 4:30 pm to 11:30 pm. In

addition, two (2) or three (3) days per week he worked a double shift from 10:30 am to 11:30 pm,

therefore, Claimant worked at least fifty-four (54) hours per week.

        4.      From June 2018 to December 2018, Plaintiff LUIS PANURA worked three (3)

days per week, Wednesday from 11:00 am to 11:30 pm, Thursday from 3:30 pm to 12:00 am, and

Friday from 10:30 am to 11:30 pm, thus, Plaintiff worked at least thirty-four (34) hours per week.

        5.      Since January 2019, Plaintiff LUIS PANURA worked three (3) days per week,

Wednesday from 10:30 am to 5:00 pm, Thursday from 3:30 pm to 12:00 am, and Friday from 4:00

pm to 1:30 am, therefore, Plaintiff worked at least twenty-four hours and thirty minutes (24.5) per

week during this period.

        6.      Plaintiff LUIS PANURA is owed unpaid wages due to Defendants claiming an

invalid tip credit.
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 45 of 70




           7.    Plaintiff LUIS PANURA is owed his illegally retained gratuities due to an improper

tipping pool.

           8.    Plaintiff LUIS PANURA is owed compensation for the improperly deducted meal

credits.

           9.    At all relevant times, Defendants paid Plaintiff LUIS PANURA at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

           10.   In addition to performing tipped duties, Plaintiff LUIS PANURA was required to

engage more than 20% of his working time performing substantial non-tipped activities including

cleaning bathrooms, sweeping and vacuuming the dining area, polishing glass and silverware, and

cleaning the private events room.

           11.   At all relevant times, Defendants illegally retained Plaintiff LUIS PANURA’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 46 of 70




managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.

       12.     At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff LUIS PANURA’s wages. However, any meals that were provided were made up of one

or at most two of the four required food groups. On many days Defendants would only provide

salad. Defendants would very rarely provide any protein. Generally, Defendants would only

provide rice or stale bread with expired vegetables.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 47 of 70




Exhibit A-17
Plaintiff NICHOLAS GRINGAS

        1.      In or about February 2018, Plaintiff NICHOLAS GRINGAS was hired by

Defendants to work as a busser at Defendants “BAR BOULUD,” where Plaintiff is currently

employed.

        2.      From the start of Plaintiff NICHOLAS GRINGAS’ employment through December

31, 2018, Plaintiff was paid $8.65 per hour. Starting from January 1, 2019 to the present, Plaintiff

was paid $10.00 per hour.

        3.      From February 2018 to December 31, 2018 Plaintiff NICHOLAS GRINGAS

worked five (5) days per week alternating between the diner-shift from 3:30 pm to 11:30 pm and

the lunch-shift from 10:30 am to 4:30 pm. Plaintiff therefore worked at least thirty (30) hours per

week during this period.

        4.      Since January 2019, Plaintiff NICHOLAS GRINGAS worked four (4) days per

week from 10:30 am to 4:30 pm, thus, Plaintiff worked at least twenty-four (24) hours per week

during this period

        5.      Plaintiff NICHOLAS GRINGAS is owed unpaid wages due to Defendants claiming

an invalid tip credit.

        6.      Plaintiff NICHOLAS GRINGAS is owed his illegally retained gratuities due to an

improper tipping pool.

        7.      Plaintiff NICHOLAS GRINGAS is owed compensation for the improperly

deducted meal credits.

        8.      At all relevant times, Defendants paid Plaintiff NICHOLAS GRINGAS at hourly

rates below the standard minimum wage. Defendants were not entitled to claim any tip credit
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 48 of 70




allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice in

violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

       9.       In addition to performing tipped duties, Plaintiff NICHOLAS GRINGAS was

required to engage more than 20% of his working time performing substantial non-tipped activities

including cleaning bathrooms, sweeping and vacuuming the dining area, polishing glass and

silverware, and cleaning the private events room.

       10.      At all relevant times, Defendants illegally retained Plaintiff NICHOLAS

GRINGAS’ gratuities because he was subject to a tip pooling scheme whereby various non-tipped

and managerial employees, participated in the tip pool and took a percentage of the pooled tips.

These individuals are not compensated at the tipped minimum wage rate, and do not serve

customers.

       11.      At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff NICHOLAS GRINGAS’ wages. However, any meals that were provided were made up

of one or at most two of the four required food groups. On many days Defendants would only
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 49 of 70




provide salad. Defendants would very rarely provide any protein. Generally, Defendants would

only provide rice or stale bread with expired vegetables.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 50 of 70




Exhibit A-18
Plaintiff PORFIRIO SUAREZ

        1.      In or about June 2005, Plaintiff PORFIRIO SUAREZ was hired by Defendants to

work as a captain at Defendants “CAFE BOULUD.” Plaintiff’s employment was terminated in

May 2016.

        2.      Throughout Plaintiff PORFIRIO SUAREZ’s employment, he was paid at a rate of

$5.00 per hour.

        3.      Starting June 2005 through May 2016, Plaintiff worked four (4) days per week.

Plaintiff worked two (2) days on the lunch-shift from 11:00 am to 1:00 pm and two (2) days per

week on the diner-shift from 4:30 pm to 1:00 am. As a result, Plaintiff worked at least forty-one

(41) hours per week.

        4.      Plaintiff PORFIRIO SUAREZ is owed unpaid wages due to Defendants claiming

an invalid tip credit.

        5.      Plaintiff PORFIRIO SUAREZ is owed his illegally retained gratuities due to an

improper tipping pool.

        6.      Plaintiff PORFIRIO SUAREZ is owed compensation for the improperly deducted

meal credits.

        7.      At all relevant times, Defendants paid Plaintiff PORFIRIO SUAREZ at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 51 of 70




valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

       8.       In addition to performing tipped duties, Plaintiff PORFIRIO SUAREZ was

required to engage more than 20% of his working time performing substantial non-tipped activities

including cleaning bathrooms, sweeping and vacuuming the dining area, polishing glass and

silverware, and cleaning the private events room.

       9.       At all relevant times, Defendants illegally retained Plaintiff PORFIRIO SUAREZ’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.

       10.      At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff PORFIRIO SUAREZ’s wages. However, any meals that were provided were made up of

one or at most two of the four required food groups. On many days Defendants would only provide

salad. Defendants would very rarely provide any protein. Generally, Defendants would only

provide rice or stale bread with expired vegetables.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 52 of 70




Exhibit A-19
Plaintiff ZAKIR HOSSAIN

        1.      In or about March 2009, Plaintiff ZAKIR HOSSAIN was hired by Defendants to

work as a busser at Defendants “DBGB Kitchen & Bar.” In or Around August 2017, Plaintiff was

transferred to Defendants’ “DANIEL.” Plaintiff’s employment was terminated in January 2018.

        2.      From the start of Plaintiff ZAKIR HOSSAIN’s employment through December 31,

2016, Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 through December 31, 2017

Plaintiff was paid $7.50 per hour. Starting January 1, 2018, to the end of his employment Plaintiff

was paid $8.65 per hour.

        3.      From March 2009 through August 2017, Plaintiff ZAKIR HOSSAIN worked five

(5) days per week. Plaintiff worked three (3) dinner-shift from 3:30 pm to 12:30 am and three (3)

lunch-shifts from 10:30 am to 5:00 pm for a total of forty-six hours and 30 minutes (46.5) per

week.

        4.      Starting August 2017 until the end of his employment, Plaintiff ZAKIR HOSSAIN

worked five (5) days per week from 3:00 pm to 1:00 am. As a result, Plaintiff worked at least fifty

(50) hours per week.

        5.      Plaintiff ZAKIR HOSSAIN is owed unpaid wages due to Defendants claiming an

invalid tip credit.

        6.      Plaintiff ZAKIR HOSSAIN is owed his illegally retained gratuities due to an

improper tipping pool.

        7.      Plaintiff ZAKIR HOSSAIN is owed compensation for the improperly deducted

meal credits.
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 53 of 70




       8.       At all relevant times, Defendants paid Plaintiff ZAKIR HOSSAIN at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

       9.       In addition to performing tipped duties, Plaintiff ZAKIR HOSSAIN was required

to engage more than 20% of his working time performing substantial non-tipped activities

including cleaning bathrooms, sweeping and vacuuming the dining area, polishing glass and

silverware, and cleaning the private events room.

       10.      At all relevant times, Defendants illegally retained Plaintiff ZAKIR HOSSAIN’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.

       11.      At all relevant times, Defendants deducted $16.25 per week as a meal credit from

Plaintiff ZAKIR HOSSAIN’s wages. However, any meals that were provided were made up of

one or at most two of the four required food groups. On many days Defendants would only provide
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 54 of 70




salad. Defendants would very rarely provide any protein. Generally, Defendants would only

provide rice or stale bread with expired vegetables.
         Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 55 of 70




Exhibit A-20
Plaintiff CARLOS CRUZ

         1.     In or about February 2008, Plaintiff CARLOS CRUZ was hired by Defendants to

work as a food runner at Defendants “DB BISTRO,” where Plaintiff is currently employed.

         2.     From the start of Plaintiff CARLOS CRUZ’s employment through December 31,

2016, Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 through December 31, 2017

Plaintiff was paid $7.50 per hour. Starting January 1, 2018 to December 31, 2018, Plaintiff was

paid $8.65 per hour. Starting from January 1, 2019 to the present, Plaintiff was paid $10.00 per

hour.

         3.     From January 2013 through December 2014, Plaintiff CARLOS CRUZ worked

shifts from 10:30 am to 3:30 pm or from 4:30 pm to 11:30 pm that varied drastically every week.

However, Plaintiff worked approximately forty (40) hours per week during this period.

         4.     From January 2015 through the present, Plaintiff CARLOS CRUZ worked shifts

from 10:30 am to 3:30 pm or from 4:30 pm to 11:30 pm that varied drastically every week.

However, Plaintiff worked approximately thirty (30) hours per week during this period.

         5.     Throughout his employment, Plaintiff CARLOS CRUZ had a twenty (20) minute

automatic meal break deduction, but Plaintiff was interrupted and required to work through his

break.

         6.     Plaintiff CARLOS CRUZ is owed unpaid wages due to Defendants claiming an

invalid tip credit.

         7.     Plaintiff CARLOS CRUZ is owed his illegally retained gratuities due to an

improper tipping pool.
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 56 of 70




        8.      Plaintiff CARLOS CRUZ is owed his unpaid wages due to Defendants policy of

time-shaving.

        9.      At all relevant times, Defendants paid Plaintiff CARLOS CRUZ at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

        10.     In addition to performing tipped duties, Plaintiff CARLOS CRUZ was required to

engage more than 20% of his working time performing substantial non-tipped activities including

cleaning bathrooms, making juices, cleaning walls, polishing glass and silverware, cutting bread,

sweeping and mopping, accepting and unloading deliveries and retrieving dirty trays from room

service in the hotel.

        11.     At all relevant times, Defendants illegally retained Plaintiff CARLOS CRUZ’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 57 of 70




       12.     At all relevant times, due to Defendants improper time-shaving policies, Plaintiff

CARLOS CRUZ was not paid for all hours worked, nor received all his overtime, equal to 1.5x

their regular rate for hours worked over forty (40) per week.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 58 of 70




Exhibit A-21
Plaintiff ERIK MEDINA

        1.      In or about January 2008, Plaintiff ERIK MEDINA was hired by Defendants to

work as a busser at Defendants “DBGB Kitchen and Bar.” In or about August 2018, Plaintiff was

transferred to Defendants “BAR BOULUD.” Plaintiff’s employment was terminated in October

2018.

        2.      From the start of Plaintiff ERIK MEDINA’s employment through December 31,

2016, Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 through December 31, 2017

Plaintiff was paid $7.50 per hour. Starting January 1, 2018 to October 2018, Plaintiff was paid

$8.65 per hour.

        3.      Throughout his employment, Plaintiff ERIK MEDINA’s schedule varied, but

Plaintiff generally worked six (6) days per week, from 3:30 p.m. to 11:00 p.m. As a result, Plaintiff

worked approximately forty-five (45) hours per week.

        4.      Plaintiff ERIK MEDINA is owed unpaid wages due to Defendants claiming an

invalid tip credit.

        5.      Plaintiff ERIK MEDINA is owed his illegally retained gratuities due to an improper

tipping pool.

        6.      At all relevant times, Defendants paid Plaintiff ERIK MEDINA at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice

in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 59 of 70




valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

       7.       In addition to performing tipped duties, Plaintiff ERIK MEDINA was required to

engage more than 20% of his working time performing substantial non-tipped activities including

setting up the dining area, setting up the food stations in the kitchen, bringing up drinks from the

basement, cleaning placemats, setting up the outside dining area, cleaning the bathrooms, mopping

floors, polishing silverware, and cleaning windows.

       8.       At all relevant times, Defendants illegally retained Plaintiff ERIK MEDINA’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 60 of 70




Exhibit A-22
Plaintiff FABIO LOZANO

        1.      In or about May 2009, Plaintiff FABIO LOZANO was hired by Defendants to work

as a food runner at Defendants “DBGB Kitchen and Bar.” Plaintiff’s employment was terminated

in or around May 2014.

        2.      From the start of Plaintiff FABIO LOZANO’s employment through December 31,

2016, Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 through December 31, 2017

Plaintiff was paid $7.50 per hour. Starting January 1, 2018 to October 2018, Plaintiff was paid

$8.65 per hour.

        3.      From the start of Plaintiff FABIO LOZANO’s employment through December 31,

2009, Plaintiff worked approximately fifty (50) hours per week.

        4.      Starting January 1, 2010 through the end of his employment, Plaintiff FABIO

LOZANO worked five (5) days per week, three (3) days from 10:00 a.m. to 10:00 p.m. and Friday

and Saturday from 10:00 a.m. to 12:00 a.m. During this period, Plaintiff worked approximately

sixty-four (64) hours per week.

        5.      Plaintiff FABIO LOZANO is owed unpaid wages due to Defendants claiming an

invalid tip credit.

        6.      Plaintiff FABIO LOZANO is owed his illegally retained gratuities due to an

improper tipping pool.

        7.      Plaintiff FABIO LOZANO is owed his unpaid spread of hours premium

        8.      At all relevant times, Defendants paid Plaintiff FABIO LOZANO at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 61 of 70




in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

       9.       In addition to performing tipped duties, Plaintiff FABIO LOZANO was required to

engage more than 20% of his working time performing substantial non-tipped activities including

setting up the dining area, setting up the food stations in the kitchen, bringing up drinks from the

basement, cleaning placemats, setting up the outside dining area, cleaning the bathrooms, mopping

floors, polishing silverware, and cleaning windows.

       10.       At all relevant times, Defendants illegally retained Plaintiff FABIO LOZANO’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.

       11.      At all relevant times, Defendants unlawfully failed to pay Plaintiff FABIO

LOZANO his spread of hours premium when he worked shifts exceeding ten (10) hours in

duration, as required by the NYLL.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 62 of 70




Exhibit A-23
Plaintiff JHONNY NAVARRA

        1.      In or about January 2010, Plaintiff JHONNY NAVARRA was hired by Defendants

to work as a food runner at Defendants “DBGB Kitchen and Bar.” Plaintiff’s employment was

terminated in or around September 2017.

        2.      From the start of Plaintiff JHONNY NAVARRA’s employment through December

31, 2016, Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 to the end of his

employment, Plaintiff was paid $7.50 per hour.

        3.      Throughout Plaintiff JHONNY NAVARRA’s employment, Plaintiff worked five

(5) days per week. Plaintiff worked three (3) days per week from 10:30 a.m. to 4:00 p.m. and two

(2) days per week from 10:30 a.m. to 11:00 p.m. As a result, Plaintiff worked approximately forty-

one and a half (41.5) hours per week.

        4.      Plaintiff JHONNY NAVARRA is owed unpaid wages due to Defendants claiming

an invalid tip credit.

        5.      Plaintiff JHONNY NAVARRA is owed his illegally retained gratuities due to an

improper tipping pool.

        6.      Plaintiff JHONNY NAVARRA is owed his unpaid spread of hours premium.

        7.      At all relevant times, Defendants paid Plaintiff JHONNY NAVARRA at hourly

rates below the standard minimum wage and overtime. Defendants were not entitled to claim any

tip credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit

notice in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by

Defendants cannot exceed the amount of tips actually received by them in violation of the FLSA;

(iii) failed to inform Plaintiff that all tips received by them are to be retained by them except
          Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 63 of 70




pursuant to a valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff

that tip credit will not apply unless they have been informed of the foregoing tip credit notice

requirement in violation of the FLSA, (v) claimed tip credit for all hours worked despite having

caused Plaintiff to engage in non-tipped duties for hours exceeding 20% of the total hours worked

each workweek in violation of the FLSA, and (vi) failed to accurately track daily tips earned or

maintain records thereof.

       8.      In addition to performing tipped duties, Plaintiff JHONNY NAVARRA was

required to engage more than 20% of his working time performing substantial non-tipped activities

including setting up the dining area, setting up the food stations in the kitchen, bringing up drinks

from the basement, cleaning placemats, setting up the outside dining area, cleaning the bathrooms,

mopping floors, polishing silverware, and cleaning windows.

       9.      At all relevant times, Defendants illegally retained Plaintiff JHONNY

NAVARRA’s gratuities because he was subject to a tip pooling scheme whereby various non-

tipped and managerial employees, participated in the tip pool and took a percentage of the pooled

tips. These individuals are not compensated at the tipped minimum wage rate, and do not serve

customers.

    10.        At all relevant times, Defendants unlawfully failed to pay Plaintiff JHONNY

NAVARRA his spread of hours premium when he worked shifts exceeding ten (10) hours in

duration, as required by the NYLL.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 64 of 70




Exhibit A-24
Plaintiff JOSE PERALTA

        1.      In or about August 2011, Plaintiff JOSE PERALTA was hired by Defendants to

work as a busser at Defendants “BOULUD SUD,” where Plaintiff is currently employed.

        2.      From the start of Plaintiff JOSE PERALTA’s employment through December 31,

2016, Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 through December 31, 2017,

Plaintiff was paid $7.50 per hour. Starting January 1, 2018 to December 31, 2018, Plaintiff was

paid $8.65 per hour. Starting from January 1, 2019 to the present, Plaintiff was paid $10.00 per

hour.

        3.      Throughout Plaintiff JOSE PERALTA’s employment, Plaintiff worked four (4)

days per week. Plaintiff worked Thursdays from 11:15 a.m. to 4:30 p.m. and then from 5:30 p.m.

to 11:30 p.m., Friday from 3:30 p.m. to 11:00 p.m., and Saturdays and Tuesdays from 4:30 p.m.

to 12:00 a.m. As a result, Plaintiff worked approximately three (3) days per week from 10:30 a.m.

to 4:00 p.m. and two (2) days per week from 10:30 a.m. to 11:00 p.m. As a result, Plaintiff worked

approximately forty-one and a half (41.5) hours per week.

        4.      Plaintiff JOSE PERALTA is owed unpaid wages due to Defendants claiming an

invalid tip credit.

        5.      Plaintiff JOSE PERALTA is owed his illegally retained gratuities due to an

improper tipping pool.

        6.      Plaintiff JOSE PERALTA is owed his unpaid spread of hours premium.

        7.      At all relevant times, Defendants paid Plaintiff JOSE PERALTA at hourly rates

below the standard minimum wage and overtime. Defendants were not entitled to claim any tip

credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 65 of 70




in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

        8.      In addition to performing tipped duties, Plaintiff JOSE PERALTA was required to

engage more than 20% of his working time performing substantial non-tipped activities including

cleaning bathrooms, making juices, cleaning walls, polishing glass and silverware, cutting bread,

sweeping and mopping, accepting and unloading deliveries and retrieving dirty trays from room

service in the hotel.

        9.      At all relevant times, Defendants illegally retained Plaintiff JOSE PERALTA’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.

        10.     At all relevant times, Defendants unlawfully failed to pay Plaintiff JOSE

PERALTA his spread of hours premium when he worked shifts exceeding ten (10) hours in

duration, as required by the NYLL.
         Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 66 of 70




Exhibit A-25
Plaintiff JULIO PINA

        1.      In or about August 2011, Plaintiff JULIO PINA was hired by Defendants to work

as a busser at Defendants “BOULUD SUD,” where Plaintiff is currently employed. In or about

2012, Plaintiff started working as a barista.

        2.      From the start of Plaintiff JULIO PINA’s employment through December 31, 2016,

Plaintiff was paid $5.00 per hour. Starting from January 1, 2017 through December 31, 2017,

Plaintiff was paid $7.50 per hour. Starting January 1, 2018 to December 31, 2018, Plaintiff was

paid $8.65 per hour. Starting from January 1, 2019 to the present, Plaintiff was paid $10.00 per

hour.

        3.      From the start of Plaintiff JULIO PINA’s employment, Plaintiff worked four (4)

days per week. Plaintiff worked Thursdays from 10:00 a.m. to 11:00 p.m., Fridays from 4:00 p.m.

to 12:00 a.m., Saturdays from 3:30 p.m. to 12:00 a.m. and Sundays from 10:00 a.m. to 4:00 p.m.,

for approximately thirty-five and a half (35.5) hours per week.

        4.      Starting in March 2019, Plaintiff worked four (4) days per week, Thursdays and

Fridays from 3:30 p.m. to 12:00 a.m., Saturdays from 10:00 a.m. to 11:00 p.m. and Sundays from

10:00 a.m. to 4:00 p.m., for approximately thirty-six (36) hours per week.

        5.      Plaintiff JULIO PINA is owed unpaid wages due to Defendants claiming an invalid

tip credit.

        6.      Plaintiff JULIO PINA is owed his illegally retained gratuities due to an improper

tipping pool.

        7.      Plaintiff JULIO PINA is owed his unpaid spread of hours premium.
           Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 67 of 70




        8.      At all relevant times, Defendants paid Plaintiff JULIO PINA at hourly rates below

the standard minimum wage and overtime. Defendants were not entitled to claim any tip credit

allowance under the FLSA because Defendants (i) failed to properly provide tip credit notice in

violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by Defendants

cannot exceed the amount of tips actually received by them in violation of the FLSA; (iii) failed

to inform Plaintiff that all tips received by them are to be retained by them except pursuant to a

valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff that tip credit

will not apply unless they have been informed of the foregoing tip credit notice requirement in

violation of the FLSA, (v) claimed tip credit for all hours worked despite having caused Plaintiff

to engage in non-tipped duties for hours exceeding 20% of the total hours worked each workweek

in violation of the FLSA, and (vi) failed to accurately track daily tips earned or maintain records

thereof.

        9.      In addition to performing tipped duties, Plaintiff JULIO PINA was required to

engage more than 20% of his working time performing substantial non-tipped activities including

cleaning bathrooms, making juices, cleaning walls, polishing glass and silverware, cutting bread,

sweeping and mopping, accepting and unloading deliveries and retrieving dirty trays from room

service in the hotel.

        10.     At all relevant times, Defendants illegally retained Plaintiff JULIO PINA’s

gratuities because he was subject to a tip pooling scheme whereby various non-tipped and

managerial employees, participated in the tip pool and took a percentage of the pooled tips. These

individuals are not compensated at the tipped minimum wage rate, and do not serve customers.
       Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 68 of 70




      11.    At all relevant times, Defendants unlawfully failed to pay Plaintiff JULIO PINA

his spread of hours premium when he worked shifts exceeding ten (10) hours in duration, as

required by the NYLL.
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 69 of 70




Exhibit A-26
Plaintiff RAFAEL ESTRELLA

        1.      In or about July 2017, Plaintiff RAFAEL ESTRELLA was hired by Defendants to

work as a food runner at Defendants “BOULUD SUD”. In or about 2018, Plaintiff was promoted

to assistant captain. Plaintiff’s employment was terminated in or around May 1, 2019.

        2.      From the start of Plaintiff RAFAEL ESTRELLA’s employment through December

31, 2017, Plaintiff was paid $7.50 per hour. Starting January 1, 2018 to December 31, 2018,

Plaintiff was paid $8.65 per hour. Starting from January 1, 2019 to his termination in or around

May 1, 2019, Plaintiff was paid $10.00 per hour.

        3.      From the start of Plaintiff RAFAEL ESTRELLA’s employment to February 2018,

Plaintiff’s schedule varied, but Plaintiff worked approximately fifty (50) to sixty (60) hours per

week.

        4.      Starting in February 2018 to the end of his employment, Plaintiff’s schedule varied

but he worked approximately fifty-five (55) hours per week.

        5.      Plaintiff RAFAEL ESTRELLA is owed unpaid wages due to Defendants claiming

an invalid tip credit.

        6.      Plaintiff RAFAEL ESTRELLA is owed his illegally retained gratuities due to an

improper tipping pool.

        7.      Plaintiff RAFAEL ESTRELLA is owed his unpaid spread of hours premium.

        8.      At all relevant times, Defendants paid Plaintiff RAFAEL ESTRELLA at hourly

rates below the standard minimum wage and overtime. Defendants were not entitled to claim any

tip credit allowance under the FLSA because Defendants (i) failed to properly provide tip credit

notice in violation of the FLSA; (ii) failed to inform Plaintiff that the tip credit claimed by
        Case 1:20-cv-03117-SDA Document 1-1 Filed 04/17/20 Page 70 of 70




Defendants cannot exceed the amount of tips actually received by them in violation of the FLSA;

(iii) failed to inform Plaintiff that all tips received by them are to be retained by them except

pursuant to a valid tip pooling arrangement in violation of the FLSA, (iv) failed to inform Plaintiff

that tip credit will not apply unless they have been informed of the foregoing tip credit notice

requirement in violation of the FLSA, (v) claimed tip credit for all hours worked despite having

caused Plaintiff to engage in non-tipped duties for hours exceeding 20% of the total hours worked

each workweek in violation of the FLSA, and (vi) failed to accurately track daily tips earned or

maintain records thereof.

       9.      In addition to performing tipped duties, Plaintiff RAFAEL ESTRELLA was

required to engage more than 20% of his working time performing substantial non-tipped activities

including cleaning bathrooms, making juices, cleaning walls, polishing glass and silverware,

cutting bread, sweeping and mopping, accepting and unloading deliveries and retrieving dirty trays

from room service in the hotel.

       10.     At all relevant times, Defendants illegally retained Plaintiff RAFAEL

ESTRELLA’s gratuities because he was subject to a tip pooling scheme whereby various non-

tipped and managerial employees, participated in the tip pool and took a percentage of the pooled

tips. These individuals are not compensated at the tipped minimum wage rate, and do not serve

customers.

       11.     At all relevant times, Defendants unlawfully failed to pay Plaintiff RAFAEL

ESTRELLA his spread of hours premium when he worked shifts exceeding ten (10) hours in

duration, as required by the NYLL.
